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                             UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF GEORGIA

                                    STATESBORO DIVISION

UNITED STATES OF AMERICA                       )



                                               )


       V   .
                                               )



                                               )



INEZ MEYON ROUNTREE                            )       INDICTMENT NO. CR609-00041-001



       On December 16, 2009, the Court sentenced Defendant, following her plea of guilty, to a

custodial term of 120 months as to the offense of conspiracy to possess with intent to distribute, and

to distribute, controlled substances within 1,000 feet of a school zone; and to a custodial term of 60

months as to the offense of unlicensed dealing in firearms, to run concurrently. This sentence was

the advisory guideline term of imprisonment that applied in the case, and Defendant did not appeal.

       On January 2,2013, Defendant filed a Motion for Downward Departure to Include Sentence

Modification based upon her rehabilitative efforts in prison.

       The authority of a district court to modify an imprisonment sentence is narrowly limited by

statute. United States v. Phillips, 597 F.3d 1190, 1194-95 (1 Ph Cir. 2010); see also 18 U.S.C. §

3582(c). None of the statutory provisions at § 3582(c) apply to Defendant, as the Bureau of Prisons

has not requested a sentence reduction due to Defendant's age and circumstances; the Government

has not filed a Rule 35 motion; and Defendant's advisory guideline range has not been lowered by

a retroactive amendment. The 14-day limit for any correction of sentence due to "arithmetical,

technical, or other clear error," has also long passed. Fed. R. Crim. P. 35(a).

        While Defendant properly points out that when a defendant's case has been remanded for

resentencing, a district court may consider a defendant's rehabilitative efforts since his prior
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sentencing, Defendant is simply not before the Court for resentencing. The Court detects no avenue

by which it could - or should revisit Defendant's sentence at this time.

       Defendant's Motion is DENIED.

        SO ORDERED, this       ..9' c) day of January, 2013.



                                                     United Stales District Judge
                                                     For the Southern District of Georgia
